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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                  )           4:05CR3014-1
                                           )
             Plaintiff,                    )
                                           )           MEMORANDUM
vs.                                        )           AND ORDER
                                           )
GILBERTO ZUNIGA,                           )
                                           )
             Defendant.                    )

       Before she will comply with my order (filing 73) to disburse the bond proceeds
to the Berry & Kelley law firm, the Clerk of Court requires that Marisela Noriega
consent to and direct such payment to the Berry & Kelley law firm. Despite the
defendant’s assignment to the law firm (filing 20), the Clerk’s position is not
unreasonable given the fact that Ms. Noriega evidently delivered the cash on behalf
of the defendant and was issued a receipt. (See text entry dated February 9, 2005
referring to receipt number 406623.) Accordingly,

       IT IS ORDERED that the law firm of Berry & Kelley shall obtain a consent to
and a direction that the bond proceeds be paid to the law firm. Said consent and
direction must be executed by Marisela Noriega. The consent and direction shall be
filed with the Clerk of the District Court. In the interim, the Clerk shall defer payment
of the bond to any party including Ms. Noriega. If such a consent and direction is not
filed within 30 days of this date, then my previous memorandum and order (filing 73)
is herewith automatically vacated and the Clerk of Court may disburse the bond
proceeds directly to Marisela Noriega.

      September 14, 2005.                      BY THE COURT:

                                               s/ Richard G. Kopf
                                               United States District Judge
